JS 44 (Rev. 10/20) - TXND (10/20)
Case 5

21-cv-00111-H BotWtefOVERSKEEN>1 page1of4 PagelD 4

The Js 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

[. (a) PLAINTIFFS

Clint Long, Individually, ad N/F of C.L.

(b) County of Residence of First Listed Plaintiff

Kent County, TX

(ENCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, aad Telephone Number)
Warren V, Norred; 515 E. Border, Arlington, TX 76010;

817-704-3984

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
DEFENDANTS

Jayton-Girard Independent School District, Johnny Tub, and Lyle

Lackey

NOTE:

 

County of Residence of First Listed Defendant

IN LAND CONDEMNATION C:
THE TRACT OF LAND INVOLVED.

Attormmeys tif Knowa)

Kent County, TX

(IN U.S. PLAINTIFF CASES ONLY)

  

S

, USE THE LOCATION OF

Underwood Law Firm (Slater Elza, David Backus, Brad Timms),
500 8. Taylor, Suite 1200, Amarillo, TX 79101, 806-376-5613

 

Il. BASIS OF JURISDICTION (Place an “NX” in One Box Only)

(1

U.S, Government
Plaintiff

C] 2 U.S. Government
Defendant

[x]3 Federal Question

(U.S. Government Not a Party)

J+ Diversity
Indicate Citizensh

ip of Parties in fem IID

 

IV. NATURE OF SUIT (Place an “Nin One Box Only)

(For Diversity Cases Only)

PTF

C1

Citizen of This State

Citizen of Another State

Citizen or Subject of a
Foreign Country

[]2
[]3

Click here for: Nature of $

Il. CITIZENSHIP OF PRINCIPAL PARTIES (piace an “x” in One Box for Plaintiff”

and One Box for Defendant)

DEF

(J:

Incorporated or Principal Place

PTF

C4

DEF

C)s

of Business In This State

[] 2

Incorporated and Principal Place

fos (5

of Business In Another State

[3

Foreign Nation

Os Oe

lit Code Descriptions.

 

| CONTRACT

TORTS

FORFEITURE/PENALTY

BANKRUPTCY

OTHER STATUTES |

 

110 Insurance

120 Marine

130 Miller Act

140 Negotiable Instrument

L] 150 Recovery of Overpayment
& Enforcement of Judgment

IS] Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

0

C 153 Recovery of Overpayment

of Veteran's Benefits
[_] 160 Stockholders’ Suits
[_] 190 Other Contract
— 195 Contract Product Liability
196 Franchise

PERSONAL INJURY
310 Airplane
315 Airplane Product
Liability
|_| 320 Assault, Libel &
Slander
330 Federal Employers’
Liability
340 Marine
345 Marine Product
Liability
350 Motor Vehicle
355 Motor Vehicle
Product Liability
[| 360 Other Personal
Injury
| 362 Personal Injury -
Medical Malpractice

PERSONAL INJURY
LJ 365 Personal Injury -
Product Liability
| 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability
C] 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
370 Other Fraud
- 371 Truth in Lending
| 380 Other Personal
Property Damage
| 385 Property Damage
Product Liability

 

REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

|_]625 Drug Related Seizure
of Property 21 USC 881
| ]690 Other

422 Appeal 28 USC 158
423 Withdrawal
28 USC 157

H

 

PROPERTY RIGHTS
820 Copyrights
830 Patent
835 Patent - Abbreviated
New Drug Application
840 Trademark

 

LABOR

LIL LL

880 Defend Trade Secrets

 

710 Fair Labor Standards
Act
[] 720 Labor/Management
Relations
740 Railway Labor Act
751 Family and Medical
Leave Act
| 790 Other Labor Litigation

 

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

 

||
1
[]

| 440 Other Civil Rights
|_| 441 Voting

H 442 Employment

443 Housing!
Accommodations
|_| 445 Amer. w/Disabilities -
Employment
[| 446 Amer. w/Disabilities -
Other
[x] 448 Education

 

Habeas Corpus:
[| 463 Alien Detainee
|_| 510 Motions to Vacate
Sentence
| | 530 General
| 535 Death Penalty
Other:
340 Mandamus & Other
350 Civil Rights
555 Prison Condition
360 Civil Detainee -
Conditions of
Confinement

 

|_]791 Employee Retirement
Income Security Act

Act of 2016

LI

 

SOCIAL SECURITY

 

861 HIA (1395fT)
862 Black Lung (923)
863 DIWC/DIWW (405(g))
864 SSID Title XVI
|_| 865 RSI (405(2))

I LU

 

FEDERAL TAX SUITS

 

 

[_] 870 Taxes (U.S. Plaintiff
or Defendant)
[_] 871 IRS—Third Party

 

IMMIGRATION

26 USC 7609

 

465 Other Immigration
Actions

 

462 Naturalization Application

A

LC]

 

 

375 False Claims Act

376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

480 Consumer Credit
(15 USC 1681 or 1692)

485 Telephone Consumer
Protection Act

490 Cable/Sat TV

850 Securities/Commodities
Exchange

890 Other Statutory Actions

891 Agricultural Acts

$93 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “X" in One Box Only)

1 Original 2
Proceeding

Removed from 3
State Cowt

Remanded from
Appellate Court

C4 Reinstated or Cl 3 Transferred from
Another District
(specify)

Reopened

Transfer

O 6 Multidistrict
Litigation -

mes Mulltidistrict
Litigation -
Direct File

 

VI. CAUSE OF ACTION

28 U.S.C. 1441

Cite the U.S. Civil Statute under which you are filing (De nor cite jurisdictional statutes unless diversity):

 

 

Brief description of cause: ;
Plaintiff asserts violation olihe Fourteenth Amendment

 

VIT. REQUESTED IN

COMPLAINT:

[] CHECK IF THIS
UNDER RULE 2

VU. RELATED CASE(S)

IF ANY

(See instructions ):

IS A CLASS ACTION
3, F.R.Cv.P.

JUDGE

DEMAND §$

CHECK YES only if demanded in complaint:

JURY DEMAND:

DOCKET NUMBER

 

[x]Y¥es []No

 

DATE

FOR OFFICE USE ONLY

RECEIPT #

Mey |, Zozt

AMOUNT

SIGNATURE OF ATTORNEY OF RECORD le hE ee
ae ‘

APPLYING IFP

 

JUDGE

MAG. JUDGE
Case 5:21-cv-00111-H Document 1-1 Filed 05/11/21 Page2of4 PagelID5
Supplemental Civil Cover Sheet
Page 1 of 3

Supplemental Civil Cover Sheet for Cases Removed
From State Court

This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
Clerk’s Office. Additional sheets may be used as necessary.

1. State Court Information:

Please identify the court from which the case is being removed and specify the number assigned
to the case in that court.

 

Court Case Number
39th District Court, Kent County, Texas 1820

 

 

 

 

 

2. Style of the Case:

Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
list the attorney(s) of record for each party named and include their bar number, firm name,
correct mailing address, and phone number (including area code).

 

 

 

Party and Party Type Attorney(s)
Clint Long, Individually, and N/F of C.L. Warren V. Norred
— Plaintiff State Bar No. 24045094

 

$15 E. Border
Arlington, TX 76010
817-704-3984

 

 

 

 

 

 

 

 

Jayton-Girard Independent School District Representing all Defendants:
-Defendant Underwood Law Firm, P.C.
Johnny Tubb — Defendant Slater C, Elza

Lyle Lackey - Defendant State Bar No. 24000747

 

David P. Backus

State Bar No. 01493870
Brad R. Timms

State Bar No. 24088535
500 S. Taylor, Suite 1200
Amarillo, TX 79101
806-376-5613

 

 

 

 

 

 

 

 

 

 

3. Jury Demand:

 

 

Was a Jury Demand made in State Court? X| Yes No

 

 

 

 

 

 
Case 5:21-cv-00111-H Document 1-1 Filed 05/11/21 Page3of4 PagelD 6
Supplemental Civil Cover Sheet

 

 

 

 

Page 2 of 3
If “Yes,” by which party and on what date?
Plaintiff May 6, 2021
Party Date
4. Answer:
Was an Answer made in State Court? Yes X| No

 

 

 

 

 

 

If “Yes,” by which party and on what date?

 

 

Party Date

5. Unserved Parties:

The following parties have not been served at the time this case was removed:

P Reason(s) for No Service

Johnny Tubb Service of not yet attem
Lyle Lack Service of not yet attem

 

6. Nonsuited, Dismissed or Terminated Parties:

Please indicate any changes from the style on the State Court papers and the reason for that
change:

 

Party Reason

 

 

 

 

 
Case 5:21-cv-00111-H Document1-1 Filed 05/11/21 Page 4of4 PagelD 7

Supplemental! Civil Cover Sheet
Page 3 of 3

7, Claims of the Parties:

The filing party submits the following summary of the remaining claims of each party in this

litigation:

 

Party

Claim(s)

 

Plaintiff

 

Plaintiff seeks a temporary restraining order
(“TRO”) against the District to prohibit the District
from enforcing the mask requirement. Plaintiff also
alleges that (1) the District’s development and
implementation of the Reopening Plan violated the
[Texas Open Meeting Act; (2) the mask requirement
denies a free public education to C.L.; (3) the mask
policy violates Mr. Long’s right to determine C.L.’s
medical treatment; (4) the mask requirement violated
the Equal Protection, Due Process, and the
Fourteenth Amendment. Plaintiff then requests a
declaratory judgment that the superintendent (who is
no longer with the District) Johnny Tubs and the
C.L.’s principal, Lyle Lackey, committed an wltra
vires action.

 

 

 
